                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

PETRO STAR INC.,
          Plaintiff,
                                            Case Number 3:11-cv-00064-RRB
v.

BP OIL SUPPLY CO., et al.,
          Defendant.                        JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 XX DECISION BY COURT. This action came to trial or hearing
before the court. The issues have been tried or heard and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

     THAT the plaintiff take nothing, that the action be dismissed
on the merits, and that the defendant, BP Oil Supply Co. and BP
Products North America Inc., recover of plaintiff, Petro Star Inc.,
defendant's costs of action in the amount of $_______________ and
attorney's fees in the amount of $________________ with
postjudgment interest thereon at the rate of 0.55% as provided by
law.

APPROVED:

S/ RALPH R. BEISTLINE
United States District Judge

Date: May 10, 2016                                 Lesley K. Allen
                                                    Clerk of Court

 NOTE: Award of prejudgment interest, costs and attorney's fees are governed
 by D.Ak. LR 54.1, 54.3, and 58.1.




[Jmt1-with fees and costs - rev. 1-13-16]




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